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                                                                                        FILED
                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA
                                                                                 2010OEC3O All: 31
                                    ALEXANDRIA DIVISION
                                                                               CLERK US DISTRICT COURT
                                                                                ALEXANDRIA. VIRGINIA

UNITED STATES OF AMERICA                                      DOCKET NO: lO-PO-^l
                                                              MISDEMEANOR
v.



JAMES J. LOPEZ                                                Court Date: January 10, 2011

                                   CRIMINAL INFORMATION


                             (COUNT I - Petty Offense - N0497959)

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

       On or about October 16, 2010, at Marine Corps Base, Quantico, Virginia, within the

special maritime and territorial jurisdiction of the United States in the Eastern District of

Virginia, the defendant, JAMES J. LOPEZ, did unlawfully operate a motor vehicle upon a

highway of the commonwealth without a valid operator's license.

(Violation of Title 18, United States Code, Section 13, assimilating Virginia Code, Section 46.2-
300,1950, as amended.)
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